                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

LEVAR WILLIAMS,                                  )
                                                 )        Case Nos. 1:10-cr-34; 1:14-cv-201
        Petitioner,                              )
                                                 )        Judge Travis R. McDonough
v.                                               )
                                                 )        Magistrate Judge Christopher H. Steger
UNITED STATES OF AMERICA,                        )
                                                 )
        Respondent.                              )


                                  MEMORANDUM OPINION



        Levar Williams (“Petitioner”), a federal prisoner, timely filed a pro se motion to vacate,

set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (the “2255 Motion”). (Doc.

553.)1 The government responded (Doc. 559), and Petitioner replied (Doc. 562). Petitioner

challenges his designation as a career offender under the United States Sentencing Guidelines §

4B1.1 and argues his sentence should be reduced pursuant to Guidelines Amendment 709,

effective November 1, 2007. For the reasons stated herein, Petitioner’s 2255 Motion lacks merit

and will be DENIED.

I.      STANDARDS

        A.     Threshold Standard

        Under 28 U.S.C. § 2255(a), a federal prisoner may make a motion to vacate, to set aside,

or to correct his judgment of conviction and sentence if he claims that the sentence was imposed

in violation of the Constitution or laws of the United States; or that the court lacked jurisdiction


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  All citations to the district court record are to the docket of Case No. 1:10-cr-34 which is the
underlying criminal case.


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to impose the sentence; or that the sentence is in excess of the maximum authorized by law; or

that the sentence is otherwise subject to collateral attack. As a threshold standard, to obtain post-

conviction relief under Section 2255, a motion must allege: (1) an error of constitutional

magnitude; (2) a sentence imposed outside the federal statutory limits; or (3) an error of fact or

law so fundamental as to render the entire criminal proceeding invalid. Mallett v. United States,

334 F.3d 491, 496–97 (6th Cir. 2003); Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003).

       A petitioner bears the burden of demonstrating an error of constitutional magnitude

which had a substantial and injurious effect or influence on the criminal proceedings. Reed v.

Farley, 512 U.S. 339, 353 (1994); Brecht v. Abrahamson, 507 U.S. 619, 637–38 (1993). In order

to obtain collateral relief under § 2255, a petitioner must clear a significantly higher hurdle than

would exist on direct appeal. United States v. Frady, 456 U.S. 152 (1982).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings in the United States District

Courts requires a district court to summarily dismiss a Section 2255 motion if “it plainly appears

from the face of the motion, the attached exhibits, and the record of the prior proceedings that the

movant is not entitled to relief.” See also Pettigrew v. United States, 480 F.2d 681, 684 (6th Cir.

1973) (“A motion to vacate sentence under § 2255 can be denied for the reason that it states

“only bald legal conclusions with no supporting factual allegations.”) (quoting Sanders v. United

States, 373 U.S. 1, 19 (1963)). If the motion is not summarily dismissed under Rule 4(b), Rule 8

requires the court to determine, after a review of the answer and the records of the case, whether

an evidentiary hearing is required. If a petitioner presents a factual dispute, then “the habeas

court must hold an evidentiary hearing to determine the truth of the petitioner’s claims.” Huff v.

United States, 734 F.3d 600, 607 (6th Cir. 2013) (quoting Valentine v. United States, 488 F.3d

325, 333 (6th Cir. 2007)). An evidentiary hearing is not required “if the petitioner’s allegations


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cannot be accepted as true because they are contradicted by the record, inherently incredible, or

conclusions rather than statements of fact.” Valentine, 488 F.3d at 333 (quoting Arredondo v.

United States, 178 F.3d 778, 782 (6th Cir. 1999)).

       B.      Standard for Ineffective Assistance of Counsel

       Petitioner raises ineffective assistance of counsel issues. Ineffective assistance of counsel

is a recognized constitutional violation that, when adequately shown, warrants relief under §

2255. The two-prong test set forth in Strickland v. Washington, 466 U.S. 668, 687 (1984),

governs claims of ineffective assistance of counsel raised pursuant to 28 U.S.C. § 2255. Huff v.

United States, 734 F.3d 600, 606 (6th Cir. 2013). Under this test, to demonstrate a violation of

the Sixth Amendment right to effective assistance of counsel, “a defendant must establish that

his attorney’s performance was deficient and that the deficient performance prejudiced the

defense.” Id. (citing Strickland, 466 U.S. at 687).

       The first prong of the Strickland test requires a petitioner to show his attorney’s

performance was deficient by demonstrating that counsel’s “representation fell below an

objective standard of reasonableness.” Strickland, 466 U.S. at 688. Stated another way, the

petitioner must show “that counsel made errors so serious that counsel was not functioning as the

‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id. at 687. The Supreme Court

“has declined to articulate specific guidelines for appropriate attorney conduct and instead [has]

emphasized that the proper measure of attorney performance remains simply reasonableness

under prevailing professional norms.” Huff, 734 F.3d at 606 (alterations in original) (quoting

Wiggins v. Smith, 539 U.S. 510, 521 (2003)). A reviewing court must be “highly deferential” to

counsel’s performance, because

       [a] fair assessment of attorney performance requires that every effort be made to
       eliminate the distorting effects of hindsight, to reconstruct the circumstances of

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         counsel’s challenged conduct, and to evaluate the conduct from counsel’s
         perspective at the time. Because of the difficulties inherent in making the
         evaluation, a court must indulge a strong presumption that counsel’s conduct falls
         within the wide range of reasonable professional assistance; that is, the defendant
         must overcome the presumption that, under the circumstances, the challenged
         action “might be considered sound trial strategy.”

Strickland, 466 U.S. at 689 (quoting Michel v. Louisiana, 350 U.S. 91, 101 (1955)).

         Even if a petitioner is successful in overcoming that presumption, he must still satisfy the

second prong of the Strickland test, i.e., prejudice. Thus, a petitioner must show not only that his

counsel’s representation was objectively unreasonable, but also that he was prejudiced by

counsel’s deficiency because there exists “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” McPhearson v.

United States, 675 F.3d 553, 563 (6th Cir. 2012) (quoting Strickland, 466 U.S. at 694).

         Although the Strickland Court emphasized that both prongs must be established in order

for the petitioner to meet his burden, it held there is no reason for a court deciding an ineffective

assistance claim to approach the inquiry in the same order or even to address both components of

the inquiry. Strickland, 466 U.S. at 697. “If it is easier to dispose of an ineffectiveness claim on

the ground of lack of sufficient prejudice, which we expect will often be so, that course should

be followed.” Id.

II.      BACKGROUND

         A.     Procedural History

          In March 2010, a federal grand jury indicted Petitioner and others for conspiring to

 distribute at least fifty grams of crack cocaine between December 2008 and January 2010, in

 violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A). (Doc. 2, Count 1, Indictment.)

 Petitioner was also charged with intent to distribute crack cocaine on December 31, 2008

 (Count Two), and distribution of crack cocaine on thirteen occasions between June 24, 2009,

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 and January 26, 2010 (Counts Three through Fifteen), all in violation of 21 U.S.C. § 841(a)(1)

 and (b)(1)(C). (Doc. 2, Indictment.)

       Initially, the parties negotiated a plea agreement under which Petitioner would plead

guilty to a lesser-included offense of Count One (i.e., a drug trafficking conspiracy with a lesser

quantity), and the United States would move to dismiss the remaining counts. (Doc. 157, Plea

Agreement.) On July 15, 2010, Petitioner pleaded guilty pursuant to the agreement. (Doc. 156,

Courtroom Minutes.) Later, at his sentencing hearing on November 18, 2010, he effectively

withdrew his guilty plea. During the allocution phase of the sentencing hearing, Petitioner

informed the Court that he was not a “big time” drug dealer. Further, he asserted that he had

been unfairly targeted and prosecuted as a “scapegoat” because he had previously accused law

enforcement officers of assaulting him. (Doc. 360, 11/18/10 Sent. Tr., Page ID #1212-13.) As a

result of the statements, the District Court rejected Petitioner’s earlier guilty plea and set the case

for trial. (Id. at Page ID # 1217-22; see also Doc. 261, Courtroom Minutes.)

       Prior to trial, the government gave notice that it would seek an enhanced sentence based

 on two prior state drug felony convictions pursuant to 21 U.S.C. § 851. (Doc. 85.) Petitioner

 proceeded to trial in September 2011. He was convicted of Counts One through Fourteen of

 the Indictment, but acquitted of Count Fifteen. (Docs. 404, 405, 406, Courtroom Minutes;

 Doc. 407, Jury Verdict.) On December 2, 2011, the Court sentenced Petitioner to a prison

 sentence of 360 months. This sentence was at the bottom of the Guidelines range applicable to

 him as a career offender. (Doc. 469, 12/02/11; Doc. 440, Judgment.) Petitioner was sentenced

 in accordance with the Fair Sentencing Act of 2010 which increased the requisite amount of

 crack cocaine from fifty grams to 280 grams to trigger the mandatory minimum term of life

 imprisonment as a result of Petitioner’s two prior felony drug convictions. (Presentence


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Report ¶¶ 135, 146); see also 21 U.S.C. § 841(b)(1)(A)(iii).

       The Petitioner timely appealed his conviction and sentence. He argued that the District

Court erred in denying his motion to suppress wiretap evidence; that there was insufficient

evidence to support the Petitioner’s convictions; and that the District Court erred in denying

Petitioner credit for acceptance of responsibility. (Doc. 436, Notice of Appeal); United States

v. Williams, 524 Fed. App’x 195 (6th Cir. 2013). Petitioner’s conviction and sentence were

affirmed. Williams, 524 Fed. App’x at 196, 204.

       While Petitioner’s appeal was pending, Petitioner filed a Motion to Reduce Sentence

under Guidelines Amendment 709 pursuant to 18 U.S.C. § 3582. (Doc. 447.) The District

Court denied that motion without prejudice on the ground that the Court lacked subject matter

jurisdiction. (Doc. 482.) However, the Court noted that Amendment 709 was in effect when

Petitioner was sentenced and, therefore, his motion “attacks the Court’s application of the

Guidelines.” Id. Petitioner thereafter timely filed this motion pursuant to 28 U.S.C. § 2255.

(Doc. 553.)

      B.      Facts Regarding Petitioner’s Sentence

       Petitioner was sentenced on December 2, 2011. (Doc. 469.) At the sentencing hearing,

Petitioner objected to the Presentence Report on five grounds. The Petitioner objected to: (1)

the inclusion of information regarding the Petitioner’s alleged harassment of co-defendants; (2)

a firearms enhancement; and (3) the lack of a reduction for acceptance of responsibility.

Further, he argued for (4) retroactive application of the Fair Sentencing Act; and (5) he

objected to the drug quantity amount attributed to him. The United States responded in

opposition to all but two of those arguments. With respect to Petitioner’s fourth and fifth

arguments, the United States concurred with the retroactive application of the Fair Sentencing


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Act and noted that the drug quantities were fixed in the addendum to the Presentence Report.

The Petitioner’s first three arguments or objections were overruled. (See Doc. 469, 12/2/11

Sent. Tr. Page ID ## 2126–28.) As a result, the Petitioner received the benefit of the Fair

Sentencing Act and a reduction in the drug quantity attributable to him. (Doc. 469, 12/2/11

Sent. Tr, Page ID # 2128.) The District Court sentenced the Petitioner to a 360-month term of

imprisonment. This term represented the bottom end of Petitioner's guideline range. (Id. at

Page ID # 2163.) The sentence consists of 360 months on each of Counts One through 14, all

terms to be served concurrently. (Id.; Page ID # 2163.) The District Court further ordered the

Petitioner to serve an eight-year term of supervised release upon his release from prison. (Id.;

Page ID # 2163.)

       The sentence was calculated as follows: Petitioner’s Base Offense Level for a violation

of 21 U.S.C. § 841(a)(1) with an amount of 84.6 grams of cocaine base was twenty-six. U.S.

Sentencing Guidelines Manual § 2D1.1(c)(7) (2011) (Presentence Report ¶ 85.) Two points

were added to the offense level for possession of a firearm. U.S. Sentencing Guidelines

Manual § 2D1.1(b)(1) (2011) (Presentence Report ¶ 86.) The adjusted Offense Level was

twenty eight. (Presentence Report ¶ 92.) Based on two prior state felony drug convictions,

Petitioner was deemed a career offender. U.S. Sentencing Guidelines Manual § 4B1.1 (2011)

(Presentence Report, ¶¶ 93, 110, 114.) Before trial, the government gave Petitioner notice,

pursuant to 21 U.S.C. § 851, that it intended to seek the statutory enhancement of his sentence

due to Petitioner’s prior felony drug conviction. Under this enhancement, Petitioner’s

statutory maximum sentence was life. 21 U.S.C. § 841(b)(1)(A) (2009). As set forth in the

chart found at U.S. Sentencing Guidelines Manual § 4B1.1 (2011), because Petitioner’s

maximum statutory sentence was life imprisonment, his offense level became thirty-seven.


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 Because of his career offender status, his criminal history category automatically became a VI.

 U.S. Sentencing Guidelines Manual § 4B1.1(b) (2011). Under the sentencing table, with an

 offense level of thirty-seven and a criminal history category of VI, his guideline range was 360

 months to life imprisonment. U.S. Sentencing Guidelines Manual, ch. 5, pt. A, sentencing

 table (2011).

III.   ARGUMENT

       Petitioner asserts that his classification under the Sentencing Guidelines as a career

offender was in error and that he should have, but did not receive, the benefit of retroactive

reductions in sentencing based on Amendment 709 to the Sentencing Guidelines. Challenges to

a petitioner’s Guidelines calculations are generally not reviewable under § 2255. See, e.g., Grant

v. United States, 72 F.3d 503, 505 (6th Cir. 1996) (“[N]onconstitutional errors, such as mistakes

in the application of the sentencing guidelines . . . ordinarily are not cognizable on collateral

review.”); see also Sun Bear v. United States, 644 F.3d 700, 704–06 (8th Cir. 2011) (en banc)

(holding that petitioner’s collateral attack on his career-offender designation was not cognizable

under § 2255). Nevertheless, applying a generous interpretation of Petitioner’s 2255 Motion,

Petitioner asserts that his counsel was constitutionally ineffective for failing to raise appropriate

arguments regarding his sentencing both with the District Court and on direct appeal. (See

Petitioner’s Brief in Support of 2255 Motion at 6, Page ID # 2494, Doc. 553.) As will be

discussed, neither of these arguments has merit. Therefore, his counsel could not have been

constitutionally ineffective for failing to raise them.

         A.      Petitioner’s Classification as a Career Offender

         The Presentence Report lists two predicate felony drug convictions that qualify the

 Petitioner as a career offender. (Presentence Report ¶¶ 110, 114.) Petitioner was arrested in


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October 1997 for conspiracy to sell over .5 grams of cocaine and for sale of less than .5 grams

of cocaine in violation of Tenn. Code Ann. § 39-17-417. He was sentenced on August 14,

1998, to a term of imprisonment of three years. (Presentence Report ¶ 110; Judgment of

Bradley County Criminal Court, Doc. 553, Page ID # 2500.) Petitioner was arrested on

August 10, 1998, for possession of over .5 grams of cocaine for resale in violation of

Tennessee Code Annotated § 39-17-417. He was sentenced on August 14, 1998, to twelve

years imprisonment. (Presentence Report ¶ 114; Judgment of the Bradley County Criminal

Court, Doc. 553, Page ID # 2499.)

       Tennessee Code Annotated § 39-17-417 states it is an offense for a defendant to

knowingly manufacture, deliver, sell, or possess with intent to manufacture, deliver, or sell a

controlled substance. Id. Convictions under this section for cocaine offenses constitute

convictions for a Class B or Class C felony. Tenn. Code Ann. § 39-17-417(c). The minimum

term of imprisonment for a Class B felony is eight years and for a Class C felony is three

years. Tenn. Code Ann. § 40-35-111(b)(2)–(3). Section 4B1.1 of the U.S. Sentencing

Guidelines Manual (2011) is the applicable career-offender provision, and it states,

      A defendant is a career offender if (1) the defendant was at least eighteen
      years old at the time the defendant committed the instant offense of conviction;
      (2) the instant offense of conviction is a felony that is either a crime of violence or
      a controlled substance offense; and (3) the defendant has at least two prior
      felony convictions of either a crime of violence or a controlled substance offense.

      Section 4B1.2 defines “controlled substance offense” as used in §4B1.1 as follows:

      The term “controlled substance offense” means an offense under federal or state
      law, punishable by imprisonment for a term exceeding one year that prohibits the
      manufacture, import, export, distribution, or dispensing of a controlled substance
      or the possession of a controlled substance (or a counterfeit substance) with
      intent to manufacture, import, export, distribute or dispense.

U.S. Sentencing Guidelines Manual § 4B1.2(b) (2011).


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       Petitioner argues, citing Descamps v. United States, 133 S. Ct. 2276 (2013), that the

controlled substance crimes which form the basis of the predicate offenses for his career

offender status are “divisible crimes,” and, therefore, they do not apply to render him a career

offender. The Supreme Court decided Descamps on June 20, 2013, after judgment in this case

became final; therefore, Petitioner’s counsel cannot be faulted for failing to cite this specific

case in support of an argument to the District Court or the Sixth Circuit regarding improper

sentencing. However, the Supreme Court in Descamps indicated that prior case law “all but

resolves this case” indicating that Decamps was a clarification of existing law. Therefore, the

Court will address Petitioner’s “divisible” crimes argument.

       Descamps examined when certain state crimes could be considered a qualifying “violent

crime” for purposes of deeming a defendant an armed career criminal under the Armed Career

Criminal Act (ACCA), 18 U.S.C. § 924(e). In Descamps, the Supreme Court explained how to

apply a federal statute—the Armed Career Criminal Act, 18 U.S.C. § 924(e)—in a particular

context. Specifically, in determining whether a prior conviction is a qualifying offense, courts

are to employ a “modified categorical approach” rather than a “categorical approach” if the

prior conviction involves the violation of a “divisible” statute—i.e., one which “comprise[s]

multiple, alternative versions of the crime” where at least one version of the crime constitutes a

qualifying offense and at least one alternate version of the crime does not constitute a qualifying

offense under the ACCA. Id. at 2281, 2284–85. In that circumstance, “the sentencing court

may consult a limited class of documents, such as indictments and jury instructions, to

determine which alternative formed the basis of the defendant’s prior conviction.” Id. at 2281.

This “modified categorical approach” has been applied to the career-offender provision under

the Sentencing Guidelines. See e.g, United States v. Denson, 728 F.3d 603, 608 (6th Cir. 2013)


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 (applying modified categorical approach as articulated in Descamps to determination of

 whether a prior conviction is a qualifying offense under the career offender provision).

          Against this backdrop, Petitioner fails to articulate how any conviction for an offense of

 § 39-17-417 deviates from qualifying offenses as defined by § 4B1.2. To the contrary,

 Petitioner’s relevant prior drug convictions under Tenn. Code Ann. § 39-17-417 fall squarely

 within the express parameters of a qualifying offense as defined by § 4B1.2. His claim that his

 prior drug convictions should not have been used to deem him a career offender is without

 merit.

          Petitioner also argues that he should be resentenced and his drug convictions should be

 counted as one conviction, presumably because he was sentenced on the same day for each

 conviction. (Doc. 553, Petitioner’s brief at 8-10; Page ID ## 2489-91.) Section 4A1.2(a)(2)

 explains that, in determining whether a defendant’s multiple prior sentences should be counted

 separately or as a single sentence, the court should look to see if the sentences imposed for the

 offenses were separated by an intervening arrest. U.S. Sentencing Guidelines Manual §

 4A1.2(a)(2) (2011). Specifically, § 4A1.2(a)(2) states,

          (2)   If the defendant has multiple prior sentences, determine whether those
                sentences are counted separately or as single sentence. Prior sentences
                always are counted separately if the sentences were imposed for offenses
                that were separated by an intervening arrest (i.e. the defendant is arrested
                for the first offense prior to committing the second offense). If there is no
                intervening arrest, prior sentences are counted separately unless (A) the
                sentences resulted from offenses contained in the same charging
                instrument; or (B) the sentences were imposed on the same day. Count
                any prior sentence covered by (A) or (B) as a single sentence. See also
                §4A1.1(e).

 Id.

          Petitioner was arrested in October 1997 for conspiracy to sell cocaine over .5 grams on

May 21, 1997. (Presentence Report ¶ 110.) The Presentence Report indicates that the exact

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arrest date in October 1997 for this offense is unknown (Presentence Report ¶110), but two

cases were instituted against him in the Bradley County, Tennessee Criminal Court in 1997,

Cases Nos. 97-512 and 97-513. (Judgment of Bradley Cty. Crim. Ct., Doc. 553, Page ID #

2500.) Thereafter, Petitioner had two other intervening arrests. Petitioner was arrested on

January 24, 1998, for criminal trespass, marijuana possession and evading arrest. (Presentence

Report ¶111.) On March 10, 1998, the Petitioner was again arrested, this time for underage

drinking and for driving offenses. (Presentence Report ¶112.) Petitioner was again arrested on

May 13, 1998, for possession of marijuana and evading arrest. (Presentence Report ¶113.)

       Petitioner was arrested for the second qualifying drug offense on August 10, 1998. On

that date, the Petitioner was arrested for possession with intent to sell crack cocaine.

(Presentence Report ¶114.) Because Petitioner’s two qualifying drug offenses are separated by

intervening arrests, they are counted as separate offenses pursuant to § 4A1.2(a)(2).

Consequently, the Petitioner’s prior sentences were properly separated and applied to deem

Petitioner a career offender.

        Finally, Petitioner also asserts that he must necessarily have been convicted of a quantity

 of drugs more than .5 grams to qualify as a career offender. (Petitioner’s brief at 9; Page ID #

 2490.) He is wrong. Section 4B1.2(b) makes no distinction as to drug amounts in defining the

 term “controlled substance offense” for purposes of the career offender statute. See § 4B1.2(b).

 Petitioner also cites Begay v. United States, 553 U.S. 137 (2008) to argue that .5 grams would

 not fall within § 4B1.2(b). Petitioner's reliance on Begay is misplaced. Begay applies to

 interpretation of the “violent felony” definition within the meaning of the Armed Career

 Criminal Act, not the “controlled substance” provision of the career offender section in the U.S.

 Sentencing Guidelines.


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       B.      Amendment 709 Sentencing Reduction

       Petitioner argues he is entitled to a sentencing reduction under Guideline Amendment

709; however, he does not clearly articulate what that reduction should be. In any event,

Amendment 709, adopted in 2007, was in effect when the Petitioner was sentenced. Therefore,

Petitioner received the benefit of that amendment at sentencing. (See Doc. 482.) Petitioner

suffered neither wrong nor prejudice with respect to the applicability of the amendment.

IV.    CONCLUSION

       The Court has reviewed this 2255 Motion carefully and finds no merit in Petitioner's

claims. For the reasons stated herein, the Court finds no evidentiary hearing for this motion

brought pursuant to 28 U.S.C. § 2255 is necessary. The Court further concludes, on the basis of

the record before it, that Petitioner is not entitled to relief. The 2255 Motion (Doc. 553) is

therefore DENIED.

       APPROPRIATE ORDER TO ENTER.

                                              /s/ Travis R. McDonough
                                              TRAVIS R. MCDONOUGH
                                              UNITED STATES DISTRICT JUDGE




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